Case No. 1:08-cv-01749-LTB-KLM Document 1 filed 08/18/08 USDC Colorado pg1of3

IN THE UNITED STATES DISTRICT COURT

FOR THE “OL a 4 RADO
08 . CV ess AUG 1 8 200%
Civil Action No. GREGORY C. LANGHAM
(The above civil action number must appear on all future papers __ CLERK

sent to the court in this action. Failure to include this number
may result in a delay in the consideration of your claims.)

RANDY W. GASPER #53109,
Applicant,
Vv.

STEVE HARTLEY, Warden, Limon Correctional Facility, and
THE ATTORNEY GENERAL OF THE STATE OF COLORADO,

Respondents.

ORDER DIRECTING CLERK TO COMMENCE CIVIL ACTION

Applicant Randy W. Gasper has submitted an Application for a Writ of Habeas
Corpus Pursuant to 28 U.S.C. § 2254. As part of the court's review pursuant to
D.C.COLO.LCivR 8.2, the court has determined that the submitted application is in
proper form. Therefore, the clerk of the court will be directed to commence a civil
action. Applicant also has tendered the $5.00 filing fee. The clerk of the court will be
directed to mail to the applicant, together with a copy of this order, a receipt for full
payment of the $5.00 filing fee. Accordingly, it is

ORDERED that the clerk of the court commence this civil action. It is

FURTHER ORDERED that the clerk of the court mail to the applicant, together

with a copy of this order, a receipt for full payment of the $5.00 filing fee. It is
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FURTHER ORDERED that process shall not issue until further order of the court.

DATED at Denver, Colorado, this_ VA day of __ a , 2008.

BY THE couRY

CRA ~ SHAFFER
United States Magistrate Judge

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

Civil Action No. 8 - CV = 0 1 G 4 9

Randy W. Gasper
Prisoner No. 53109

Limon Correctional Facility
49030 State Hwy. 71-LU5
Limon, CO 80826

| hereby certify that | have mailed a copy of the ORDER and a receipt for the full
$5.00 filing fee to the above-named individuals on gfe

GREGORY C. LANGHAM, CLERK

WA

LD Deputy Clerk

